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                      Exhibit B
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ERO Custody Management Division
Population Counts from September 1, 2021 through September 30, 2021
Source: ICE Integrated Decision Support (IIDS), 10/12/2021
IIDS is a data warehouse that contains dynamic data extracts from the Enforcement Integrated Database (EID).
FY2021 data: IIDS as of 10/12/2021; EID data through 09/30/2021
Average Daily Population is calculated by the total daily population divided by the number of days in the month
Total Daily Population includes single adults and individuals in family units

ERO is currently appropriated sufficient funding for approximately 34,000 detention beds nationwide, to support its mission
to enforce immigration law. ICE’s access to its full inventory of bedspace is severely limited due to various court orders
limiting the intake of noncitizen detainees, an increase in detention facility contract terminations, detention facility contract
modifications, and the ongoing COVID-19 pandemic. Specifically, ICE’s Pandemic Response Requirements (PRR) for its
detention facilities, which are informed by the Centers for Disease Control and Prevention’s COVID-19 guidelines, require
that facilities undertake efforts to reduce populations to approximately 75% capacity. Last year, the U.S. District Court for
the Central District of California issued a nationwide preliminary injunction recognizing the 75% capacity limit, and ordering
ICE to maintain additional strict standards to reduce the risk of COVID-19 infection. See Fraihat v. ICE, 445 F.Supp.3d 709
(C.D. Cal. Apr. 20, 2020). In light of these mandates, ICE’s currently available bedspace inventory is only approximately
26,800 beds

     Average Daily Population for the Month of September                        23,096

           Date      Total Daily Population
       9/1/2021                     23,859
       9/2/2021                     23,623
       9/3/2021                     23,235
       9/4/2021                     23,392
       9/5/2021                     23,420
       9/6/2021                     23,498
       9/7/2021                     23,093
       9/8/2021                     22,729
       9/9/2021                     22,462
      9/10/2021                     22,057
      9/11/2021                     22,247
      9/12/2021                     22,569
      9/13/2021                     22,628
      9/14/2021                     22,568
      9/15/2021                     22,228
      9/16/2021                     22,510
      9/17/2021                     22,326
      9/18/2021                     22,493
      9/19/2021                     22,831
      9/20/2021                     23,885
      9/21/2021                     23,872
      9/22/2021                     24,233
      9/23/2021                     24,350
      9/24/2021                     23,866
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9/25/2021             23,835
9/26/2021             23,833
9/27/2021             23,569
9/28/2021             23,034
9/29/2021             22,656
9/30/2021             21,980
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ERO LESA Statistical Tracking Unit
For Official Use Only (FOUO)/Pre-decisional
Texas v Biden (MPP) - Reporting Requirement - 10/14/2021

ICE Removals of Expedited Removals for Sept 2021
   Case AOR             Total
Atlanta                            66
Baltimore                         -
Boston                              3
Buffalo                             5
Chicago                            29
Dallas                             61
Denver                             11
Detroit                             8
El Paso                            80
Houston                           166
Los Angeles                        10
Miami                              25
New Orleans                       224
New York City                       3
Newark                              3
Philadelphia                        7
Phoenix                            79
Salt Lake City                     41
San Antonio                       203
San Diego                          57
San Francisco                       5
Seattle                             5
St. Paul                            7
Washington                          9
Total                           1,107
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ERO-LESA Statistical Tracking Unit
For Official Use Only (FOUO)/Pre-decisional
Texas v Biden (MPP) - Reporting Requirement - 10/14/2021

   ICE Initial Book Ins in September FY2021 with
               Arresting Agency of CBP                27,067


  ICE Initial Book Ins in September FY2021 with
Arresting Agency of CBP with a previously occurring
 USBP Apprehension or CBP OFO Encounter at the
                 Southwest Border                     23,729
                10/7/2021 ICE Currently Detained       5,267
                 FY2021 YTD ICE Final Release         15,511
                               Bonded out                 37
                          Order of Recognizance       11,112
                           Order of supervision          170
                                 Paroled               4,192
                   FY2021 YTD ICE Removal                303
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ERO-LESA Statistical Tracking Unit
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Texas v Biden (MPP) - Reporting Requirement - 10/14/2021

Footnotes
FY2021 ICE Initial Book Ins data are updated through 9/30/2021 (IIDS v.1.34 run date 10/11/2021; EID as of 10/07/2021).
ICE Currently Detained National Docket data are a snapshot as of 10/07/2021 (IIDS v.1.34 run date 10/11/2021; EID as of 10
FY2021 ICE Final Releases data are updated through 9/30/2021 (IIDS v.1.34 run date 10/11/2021; EID as of 10/07/2021).
FY2021 ICE Removals data are updated through 9/30/2021 (IIDS v.1.34 run date 10/11/2021; EID as of 10/07/2021).

USBP Apprehensions FY14 - FY21 YTD uploaded to IIDS on 10/6/2021, with FY21 apps through 9/27/2021.
Office of Field Operations (OFO) Southwest Border Operations (SBO) Enforcement Encounters Report with Subject-level
details for FY21TD through 9/27/2021.


For the purpose of this report, only the most recent status for an individual who had an ICE Initial Book Ins in August
FY2021 with Arresting Agency of CBP with a previously occurring USBP Apprehension or CBP OFO Encounter at the
Southwest Border is included in the summary count. I.e., Individual with multiple initial book-ins pertinent to this litigation
should have the same reported status and not be included in multiple status summary counts.

Two A-Numbers appears in both official ICE Releases and ICE Removals populations. For the purpose of reporting latest
status, only the ICE Release records (which reflects a final release date after the removal date) are included in the status
summary counts.

The person record for 2,648 ICE Initial Book Ins pertinent to this litigation could not be matched to an ICE Current
Detention, ICE Final Release or ICE Removal occurring after the ICE Initial Book In date.


ICE Initial Book Ins
ICE Detention data exclude ORR transfers/facilities, as well as U.S. Marshals Service Prisoners.
All stats are pulled based on Current Program which attributes all cases back to the Program of the processing officer of the
event. However, if Current Program = OPL, XXX, ZZZ, or null, then Event Program is used.
The "CBP" Arresting Agency includes the following programs: Border Patrol, Inspections, Inspections-Air, Inspections-
Land, and Inspections-Sea.

ICE Initial Book Ins are matched to USBP Apprehensions and/or OFO Encounters based on subject-level details (Civilian
record) where the USBP Apprehension and/or OFO Encounter occur prior to the ICE Initial Book In date. STU cannot
confirm that the ICE Initial Book In is directly related to the matched USBP Apprehension and/or OFO Encounter.

Individuals may have more than one ICE Initial Book Ins relevant to this litigation. All have been included.


ICE Detained National Docket
ICE Detention data exclude ORR transfers/facilities, as well as U.S. Marshals Service Prisoners.
ICE Initial Book Ins are matched to ICE Current Detention record based on person-level details (Person record) where the
ICE Initial Book In occur prior to the ICE Current Detention date. The ICE Initial Book In may not be directly related to the
matched ICE Current Detention.


ICE Final Releases
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An ICE Final Release is defined as a Final Bookout that reflects one of the following release reasons: Bonded Out, Order of
Recognizance, Order of Supervision, Paroled, or Prosecutorial Discretion. All Case Statuses are included.
ICE Detention data exclude ORR transfers/facilities and U.S. Marshals Service Prisoners.
ICE Initial Book Ins are matched to ICE Final Release record based on person-level details (Person record) where the ICE
Initial Book In occur prior to the ICE Final Release date. The ICE Initial Book In may not be directly related to the matched
ICE Final Release.


ICE Removals
ICE Removals include Returns. Returns include Voluntary Returns, Voluntary Departures and Withdrawals Under Docket Co
ICE Removals include aliens processed for Expedited Removal (ER) or Voluntary Return (VR) that are turned over to ERO
for detention. Aliens processed for ER and not detained by ERO or VR after June 1st, 2013 and not detained by ERO are
primarily processed by Border Patrol.

Starting in FY2009, ICE began to “lock” removal statistics at the end of each fiscal year and counted only the aliens whose
removal or return was already confirmed. Aliens removed or returned in that fiscal year but not confirmed until after the end
of that fiscal year were excluded from the locked data and thus from ICE statistics. To ensure an accurate and complete
representation of all removals and returns, ICE will include the removals and returns confirmed after the end of that fiscal
year into the next fiscal year. The number of removals in FY2009, excluding the "lag" from FY2008, was 387,790. The
number of removals in FY2010, excluding the "lag" from FY2009, was 373,440. This number does not include 76,732
expedited removal cases which ICE closed on behalf of CBP in FY2010. Of those 76,732, 33,900 cases resulted from a joint
CBP/ICE operation in Arizona. ICE spent $1,155,260 on those 33,900 cases. The number of removals in FY2011, excluding
the "lag" from FY2010, was 385,145. The number of removals in FY2012, excluding the "lag" from FY2011, was 402,919.
The number of removals in FY2013, excluding the "lag" from FY2012, was 363,144. The number of removals in FY2014,
excluding the "lag" from FY2013, was 311,111. The number of removals in FY2015, excluding the "lag" from FY2014, was
231,250. The number of removals in FY2016, excluding the "lag" from FY2015, was 235,524. The number of removals in
FY2017, excluding the “lag” from FY2016, was 220,649. The number of removals in FY2018, excluding the “lag” from
FY2017, was 252,405. The Number of removals in FY2019, excluding the "lag" from FY2018, was 262,591. The number
of removals in FY2020, excluding the “lag” from FY2019, was 177,516.

FY Data Lag/Case Closure Lag is defined as the physical removal of an alien occurring in a given month; however, the case
is not closed in EARM until a subsequent FY after the data is locked. Since the data from the previous FY is locked, the
removal is recorded in the month the case was closed and reported in the next FY Removals. This will result in a higher
number of recorded removals in an FY than actual departures.

All stats are pulled based on Current Program which attributes all cases back to the Program of the processing officer of the
event. However, if Current Program = OPL, XXX, ZZZ, or null, then Event Program is used.
Expedited removals include cases have one of the following case categories:
[8F] Expedited Removal [8G] Expedited Removal - Credible Fear Referral, [8H] Expedited Removal - Status Claim
Referral, [8K] Expedited Removal Terminated due to Credible Fear Finding / NTA Issued.
ICE Initial Book Ins are matched to ICE Removal record based on person-level details (Person record) where the ICE Initial
Book In occur prior to the ICE Removal date. The ICE Initial Book In may not be directly related to the matched ICE
Removal.
